                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff,       )
                                                )
         v.                                     )
                                                )    CASE NO. 06-00155-02-CR-W-NKL
RAPHAEL M. BUTLER,                              )
                                                )
                               Defendant.       )

                            ACCEPTANCE OF PLEA OF GUILTY
                             AND ADJUDICATION OF GUILT

         Pursuant to the Report and Recommendation of United States Magistrate Judge Sarah Hays,

to which no objection has been filed, the pleas of guilty to the Indictment are now accepted.

Defendant is adjudged guilty of such offense. Sentencing will be set by subsequent order of the

court.


                                                    s/ NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge
September 5, 2006
Kansas City, Missouri




         Case 4:06-cr-00155-NKL         Document 30      Filed 09/05/06     Page 1 of 1
